        Case 8:05-cr-00352-SDM-TBM Document 99 Filed 02/22/06 Page 1 of 6 PageID 145
..I0 24SB (Kev 12/03) Sheet 1 - Judgment in a Cril~linalCase


                             UNITED STATES DISTRICT COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                        TAMPA DIVISION



UNITED STATES OF AblERICA                                       JUDGRlENT IN A CRIMINAL CASE
                                                                CASE NUMBEK:        8:05-cr-352-T-23TBbl
                                                                USM NUMBER:         48088-018



hlIGUEL ENKIQUE SINCLAIR CHRISTOPI-IER
                                                                Defendant's Attor~ley: Ronald J. Kurpiers, 11, cja

THE DEFENDANT:

-
X pleaded guilty to counts ONE and TWO of the Indictment.


TITLE & SECTION                                NATURE OF OFFENSE                           OFFENSE ENDED             COUNT

46 Appendix, U.S.C. 5s 1903(a),                Conspiracy to Possess with the Intent       August 16, 2005           ONE
1903(g), and 1903Q); and 21 U.S.C. 4           to Distribute 5 Kilograms or More of
960(b)( 1)(B)(ii)                              Cocaine While Aboard a Vcssel Subject
                                               to United States Jurisdiction

46 Appendix, U.S.C. $$ 1903(a) and             Possession with the Intent to Distribute    August 16, 2005           TWO
1903(g); 18 U.S.C. 2: and 21 U.S.C.            5 Kilogranls or More of Cocaine
S 960(b)(l)(B)(ii)

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Refom1 Act of 1984.


1T IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of nanle, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordcrcd to pay restitution, the defendant shall notify the coun and United States Attorney of any material change in economic
circunlstances.


                                                                                  Date of Imposition of Sentence: February 21, 2006




                                                                                      STEVEN D. hlERRYDAY
                                                                                                                             1
                                                                                  UNITED STATES DISTRICT JUDGE

                                                                                  DATE: February              2006
         Case 8:05-cr-00352-SDM-TBM Document 99 Filed 02/22/06 Page 2 of 6 PageID 146
A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:           MIGUEL ENRIQUE SINCLAIR CHRISTOPHER                                                   Judgment - Page 2 of 6
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                The defendant is hereby corn~nittedto the custody of the United States Bureau of Prisons to be
imprisoned for a total term of Oh'E HUNDRED THIRTY-FIVE (135)hIONTIIS as to counts one and t\tto, both terms to
riui concurrently.




X The court makes the following recommendations to the Bureau of Prisons: that the defendant be pIaced ~ I aI correctional
facility offering the Unicor program.



-
X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
               at - a.ni.lp.ni. on -.
            - as notified by the United States Marshal.

-The defendant shall surrender for senlice of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.




                                                                    RETURN
            I have execuced this judgment as follows:




          Defendant delivered on                                                  to

at                                                                      , with a certified copy of this judgment.


                                                                                       United States Marshal

                                                                     By:
                                                                     Deputy Marshal
         Case 8:05-cr-00352-SDM-TBM Document 99 Filed 02/22/06 Page 3 of 6 PageID 147
A 0 245B (Rev. 12103) Sheer 3 - Supervised Release

Defendant:         MIGUEL ENRIQUE SINCLAIR CI-IRISTOPHER                                          Judgment - Page 3of 6
Case No.:          8:05-cr-352-T-23TBhl

                                                        SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of SLXTY (GO) XIOXTHS as to
counts one and two of the Indictment, both terms to run concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local cri~ne,and shall not possess a
firearm, amnunition, or destructive device as defined in 18 U.S.C. $ 921.

         The defendant shall not illegally possess a controlled substance. 1 1 e defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, thc Court
         authorizes random drug testing not to exceed 104 tests per year.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
          the Schedule of Payments sheet of this judgment.

          The defendant shall conlply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                          STANDARD CONDITIONS OF SUPERVISION
1)        the defendant shall not leave the judicial district without the permission of the court or probation officer:
2         the defendant shall report to the probation officer and shall submit a truthful and completc v.ntten rcport \\ithi11thc first fivc days
          of each month:
3         the defendant shall answcr truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4)        the defendant shall support his or her dependents and meet other family responsibilities;

5)        the defendant shall ivork regularly at a lawfi~loccupation. unless excused by the probation officer for schooling, training, or other
          acceptable reasons;

6)        the defendant shall notify the probation officcr at lcast ten days prior to any change in rcsidcnce or employment:
7         thc dcfcndant shall refiain from excessive usc of alcohol and shall not purchase, possess. usc. distribute. or administer any
          controlled substance or any parapllemalia related to any controlled substances, except as prcscribcd by a physician:
s         the defendant shall not frequent places wherc controllcd substances are illegally sold, used, distributed, or administered;

9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless grantcd pcnnission to do so by the probation officer:

10)      the defendant shall pennit a probation officer to visit him or her at any time at homc or elsewhere and shall permit confiscation of
         any contraband observed in plain vicw of thc probation officer:

1 1)      the defendant shall notify the probation officer within seventy-two hours of bcing arrested or questioned by a law enforcement
          officcr:

I )       the defendant shall not cntcr into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of thc court:

13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's crimlnnl
         rccord or personal history or characteristics and shall pcrmit the probation officer to make such notifications and to confinn thc
         defendant's compliancc with such notification requirement.
        Case 8:05-cr-00352-SDM-TBM Document 99 Filed 02/22/06 Page 4 of 6 PageID 148
A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Dckndant:         MIGUEL ENRIQUE SINCLAIR CHRISTOPHER                                        Judgmenr - Page 4 of 6
Case No.:         8:05-cr-352-~-23~~h1
                                        SPECIAL CONDITIONS OF SUPERVISION

         Tllc defendant shall also comply with the following additional conditions of supervised release:

-
X        If the defendant is deported, he shall not re-enter the United States without the express permission of the appropriate
         governmental aurhority, currently the United States Departn~entof Hon~elandSecurity.
        Case 8:05-cr-00352-SDM-TBM Document 99 Filed 02/22/06 Page 5 of 6 PageID 149
A 0 215B (Rev 12/03) Sheel 5 - Criminal Monetary Pe~lalties

Defendant:         MIGUEL ENRIQUE SINCLAIK CI-IRISTOPI.IER                                           Judgment - Page 5 of 6
Case No.:          8:05-cr-352-T-23TBM

                                          C'RIMINAL MONETARY PENALTIES

         The defendant nlust pay the total criminal nionetary penalties under the schedule of payments on Sheet 6.
                           Assessment                           Fine                        Total Restitution

         Totals:                                                           $ waivctl                 $



-        The determination of restitution is deferred until .              An Antelided Jzldgl~ientill a Critllittal Case ( A 0 245C) will
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or.percentage pa ment colunln below. However. pursuant to 18 U.S.C. 5
         3664(1). all non-federal vicrlrns must be p a d before the henlted States.
                                                                                                              Priority Order or
                                                *Total                        Amount of                       Percentage of
                                              Amount of Loss               Restitution Ordered                Payment




                            Totals:           L                            S

 -         Restitution amount ordered pursuant to plea agreement       S
 -         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment, ursuant to 18 U.S.C. § 3612(f). All of rhe payment options on Sheet
           6 may be subject to penalties for delinquency and def!ult, pursuant to 18 U.S.C. $ 3612(g).
 -         The court determined that the defendant does not have the ability to pay interest and it is ordered thar:
         -         the interest requirement is waived for the - fine           - restitution.

         -         the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, llOA, and 113A of Title 18 for the offenses
conunilled on or after September 13. 1994, but before April 23, 1896.
        Case 8:05-cr-00352-SDM-TBM Document 99 Filed 02/22/06 Page 6 of 6 PageID 150
A 0 215B (Rev 12/03) Shcet 6 - Schcdule of Payments

Defendant:        MIGUEL ENRIQUE SINCLAIR CHRISTOPHER                                               Judgment - Page 6--     of
Case No.:         8:05-cr-352-T-23TBM




Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X         Lump sum payment of $ 200.00 due immediately, balance due
                            - not later than                  , or

                            - in accordance - C, - D, - E or - F below; or
B.       -         Payment to begin immediately (may be combined with -C. - D, or -F below); or
C.       -         Payment in equal                 (e.g., weekly. monthly, quarterly) install~nentsof S             over a
                   period of          (e.g., months or years). to commence              days (e.g., 30 or 60 days) after the
                   date of this judgment: or
D.       -         Payment in equal                         weekly, monthly, quarterly) installments of $             over a
                   period of             . (e.g., mon
                                                   ( e . Ls or years) to commence                  (e.g. 30 or 60 days) after
                   release from imprisonment to a term of supervision: or
E.       -         Payment during the term of supervised release will commence within                         (e.g., 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal inonetary penalties:




Unless the court has expressly ordered otherwise, if this jud ment in~posesa period of                                      of criminal
          5                             b                            S
monetar penalties is due during irn risonment. All crirnina monetary penalties,
Federal ureau of Prisons' Inmate inancial Responsibility Program, are ~nade
                                                                                                                      made through the

The defendant shall receive credit for all paylnerits previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United Stares:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) c o ~ ~ ~ ~ n urestitution,
                    nity        (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
